               Case 3:21-cv-00360-CAB-MDD Document 10 Filed 06/01/21 PageID.56 Page 1 of 2



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                   6   Attorneys for Defendant               Events.com, Inc.
                       Events.com, Inc.
                   7
                   8                        UNITED STATES DISTRICT COURT
                   9                      SOUTHERN DISTRICT OF CALIFORNIA
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               11      SCANNING TECHNOLOGIES                       Case No. 3:21-CV-00360-CAB-MDD
                       INNOVATIONS, LLC,
               12                                                  NOTICE OF CHANGE OF ADDRESS
                                      Plaintiff,
               13
                             v.
               14
                       EVENTS.COM, INC.,
               15
                                      Defendant.
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               17
               18
               19      TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR COUNSEL
               20      OF RECORD:
               21            PLEASE TAKE NOTICE that, effective June 7, 2021, Cooley LLP will have
               22      relocated its San Francisco office as shown below:
               23
                                                             Cooley LLP
               24                                  3 Embarcadero Center, 20th Floor
                                                    San Francisco, CA 94111-4004
               25
               26
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               28
COOLEY LLP
ATTORNEYS AT LAW
   PALO ALTO
                                                                                 NOTICE OF CHANGE OF ADDRESS
                                                                             CASE NO. 3:21-CV-00360-CAB-MDD
               Case 3:21-cv-00360-CAB-MDD Document 10 Filed 06/01/21 PageID.57 Page 2 of 2



                   1               PLEASE TAKE FURTHER NOTICE that our firm’s telephone and facsimile
                   2   numbers and e-mail addresses remain the same.
                   3               All notices and other documents regarding this action should be sent to the
                   4   above address as of June 7, 2021.
                   5
                   6
                        Dated: June 1, 2021                             COOLEY LLP
                   7
                                                                        /s/ Benjamin H. Kleine
                   8                                                    Benjamin H. Kleine
                   9
                                                                        Attorney for Defendant
               10                                                       Events.com, Inc.
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                       251010643
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COOLEY LLP
ATTORNEYS AT LAW
                                                                                        NOTICE OF CHANGE OF ADDRESS
   PALO ALTO                                                        2               CASE NO. 3:21-CV-00360-CAB-MDD
